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                  EXHIBIT C
             Case 3:17-cv-00072-NKM-JCH Document 792-3 Filed 07/03/20 Page 2 of 2 Pageid#:
                                              11572
Katie heng
      C




From:                               Jessica Phillips
Sent:                               Sunday, May 24, 2020 9:36 PM
To:                                 Eli Mosley; eli.f.mosley@gmail.com; eli.r.kline@gmail.com
Cc:                                 Yotam Barkai; Jessica Phillips
Subject:                            RE: your deposition


Mr. Kline:

If we do not hear from you about a date for your deposition by Tuesday, May 26, 2020, Plaintiffs will pick a date before
July 17, 2020, and circulate a deposition notice. Plaintiffs reserve all rights to seek relief from the Court if you fail to
appear for your deposition.

Jessica E. Phillips
Partner

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1401 New York Ave., NW
Washington, DC 20005
(t) +1 202 895 7592
(m) +1 312 493 7114
jphillips@bsfllp.com
www.bsfllp.com


From: Jessica Phillips
Sent: Tuesday, May 5, 2020 1:29 PM
To: Eli Mosley <deplorabletruth@gmail.com>; eli.f.mosley@gmail.com; eli.r.kline@gmail.com
Cc: Jessica Phillips <JPhillips@BSFLLP.com>; Yotam Barkai <YBarkai@BSFLLP.com>
Subject: your deposition

Mr. Kline:

I am writing to inquire about your availability in June 2020 to sit for your deposition in Sines v. Kessler. As you know, the
trial begins on October 26, 2020, and party depositions must be complete by July 17, 2020. Because of the pandemic, we
will be taking depositions via video. Accordingly, in addition, to informing me of your available dates to sit for a
deposition, please also confirm whether you have access to a computer with a camera, a cell phone, and an internet
connection. If you have any questions, I can be reached at the number in my signature below.

Best,

Jessica E. Phillips
Partner

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